          Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 1 of 20




[Petitioner] does suffer from psychological impairments as a result of the traumatic conditions of

his upb ringing ." Id. at H . Tr . 522 .

        Also presented in the state habeas proceedings       and undiscovered or ignored by trial

counsel - was evidence that , on the day of the killings at the lake, Mr. Raulerson had consumed

at least one and a half cases of beer, a half bag of marijuana , and various pain pills including

Vistaril, Vicodin, Percod an, and Valium . See, e.g., P . Ex . 4 at H . Tr. 490 . Based on this and

other evidence presented in the state habeas cou rt, Dr. John Holbrook, an expert pharmacologist,

opined "that, at the time of the homicides of the teenage couple, Mr . Raulerson was experiencing

a drug-induced dissociative episode which signific antly impaired his judgement , behavior,

capacity to recognize reality and his ability to conform his conduct to the requirements of the

law." Id . at H. Tr. 493; see also P . Ex. I at H . Tr. 466-68 . These conclusions were corroborated

by the state habeas testimony of Robert Tressel, a crime scene investigator and former homicide

detective, who testi fied that the crime scenes in this case reve aled no evidence of premeditation

and deliberation, but that the c rimes appeared to have been confused, impulsive and unplanned.

See P . Ex. 5 at H . Tr. 503-10.

        In sum, it was objectively unreasonable for trial counsel to fail to investigate and present

critical evidence conce rning Petitioner 's mental illness and mental impairments at the time of the

crimes . Other th an Dr. Grant's guilt -innocence phase testimony concerning Petitioner ' s mental

retardation , trial counsel presented no expert testimony to demonstrate Mr . Raulerson's severe

mental illness or impaired mental state. Plainly, both of these factors would have been cri tical to

the jury ' s assessment of Mr. Raulerson' s culpability . But trial counsel simply ignored or failed to

develop the factual basis to support the compelling ment al health expert opinion presented in th e


                                                  28
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 2 of 20




state habeas proceedings . Accordingly, the jury never heard these critical expert opinions, which

belied the State's claim that Petitioner was a deliberative and cold-blooded killer .

        As is clear from the evidence submitted in the state habeas proceedings, including expert

reports and school records, Petitioner suffered from mental illness throughout his life, beginning

in early childhood . These afflictions affected his day-to-day functioning, often causing him to

experience dissociative states . Although trial counsel conceded in state habeas proceedings that

a "guilty but mentally ill" defense "certainly had merit," they claimed not to have pursued that

strategy based on the mistaken belief that evidence of mental illness would not have saved

Petitioner's life . See H . Tr. 160, 241 . Such a "strategy" was objectively unreasonable, and

plainly prejudicial to Mr . Raulerson . Regardless whether a "guilty but mentally ill" defense,

standing alone, would have exempted Petitioner from the death penalty under Georgia law or the

federal Constitution, at the very least, the voluminous evidence related to Petitioner's mental

illness would have been highly relevant to W . Raulerson's mitigation case at sentencing.

Indeed, such evidence could have made the difference between life and death, had the jury

simply been informed by trial counsel of its existence .

       F . Trial Counsel Failed to Rebut the State 's Case in Aggravation .

       In the penalty phase, the State presented aggravating evidence of alleged prior instances

of Petitioner's violent conduct through two witnesses, Wayne Reeves and Christopher Raulerson

- Petitioner's brother. These were the only State witnesses to testify to Petitioner's alleged

violent nature, and thus their testimony was critical to the State's aggravation case . Trial

counsel's failure to investigate these witnesses, to cross-examine them, or to present rebuttal

evidence concerning their testimony constituted ineffective assistance of counsel.


                                                 29
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 3 of 20




        Reeves testified that Petitioner shot at three unarmed individuals for no reason

whatsoever in the month before the killings in this case . However, trial counsel failed to

investigate Reeves' background, which included an extensive criminal record . Had trial counsel

performed a basic investigation, they would have been able to impeach Reeves' credibility

through the use of these prior convictions, which included crimes of moral turpitude such as

theft, burglary, and attempting to elude a police officer . In addition, had trial counsel

investigated, they would have discovered that Reeves' testimony on the stand - that Petitioner

had indiscriminately fired at three unarmed individuals at the river was flatly inconsistent with

earlier statements he had given authorities in which he claimed that he had prevented Petitioner

from firing the gun. See P . Ex . 141 at H . Tr. 4042-43 . Trial counsel's failure to investigate and

impeach Wayne Reeves' critical aggravating testimony was objectively unreasonable .

       Chris Raulerson testified about a family dispute in 1993, during which Petitioner

allegedly turned violent and threatened to kill Chris Raulerson with a gun . Chris Raulerson's

testimony painted himself and his family as victims . This testimony was particularly detrimental

to Petitioner because it came from his own brother, and because, although other family members

were sitting in the courtroom, it went unrebutted . Had trial counsel performed even a basic

investigation of the facts of this incident, they would have known that other witnesses would

have contradicted Chris Raulerson's testimony, and would have recalled Chris Raulerson - not

Petitioner - as the aggressor . Moreover, had trial counsel performed an adequate mitigation

investigation, they could have used this incident to demonstrate to the jury that violence -

particularly against the children - was commonplace in Petitioner's family . The failure to




                                                  30
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 4 of 20




discover and present testimony of witnesses who would have discredited Chris Raulerson's

version of events constituted deficient performance .

        Petitioner plainly was prejudiced by counsel's failure to submit the State's aggravation

case to meaningful adversarial testing . Because of counsel's failure, the jury was presented with

an unrebutted view of Petitioner as a wanton predator who attempted to kill without reason

individuals who crossed his path. Had counsel simply investigated these witnesses and

performed some degree of cross-examination, the State's aggravation case would have been

considerably tempered . Because there is a reasonable probability that "the result of the

proceeding would have been different," Stricklan d , 466 U .S. at 694, absent counsel's failings

concerning the State's aggravation case, Petitioner's constitutional rights were violated .

        G. Trial Counsel Failed to Rebut the State's Devastating Closing Argument
            Concerning Petitioner 's Intent .

        The prosecution's closing argument painted Petitioner as a "cold-blooded killer" who was

"not just one person going out and happening to kill ." T. Tr . Vol. 13 at 107, 113 . These

statements could easily have been contradicted, had trial counsel properly investigated the issue

of Petitioner's intent and presented available evidence rebutting the argument that Petitioner

acted in a premeditated and deliberate matter . Because "the issue of whether a killing was

impulsive or premeditated can be `an important factor when the jurors consider whether to

recommend the death penalty,"' Fugate v. Head, 261 F . 3d 1206, 1218 (11th Cir. 2001) (quoting

Magill v. Duggger, 824 F .2d 879, 889 (11th Cir. 1987)), trial counsel's complete failure to

counteract the State's closing argument amounted to constitutionally deficient performance that

prejudiced Petitioner.




                                                 31
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 5 of 20




        Tri al counsel were aware of the circumstances of the c rimes, which were extensively

described in Petitioner's statements to law enforcement officials , discovery from the prosecution,

and notes from the public defender . Moreover , trial counsel was well aware that Petitioner had

extensively used drugs and alcohol prior to the c rimes. And it was obviously c ritical to show at

trial that Mr. Raulerson 's crimes were impulsive rather than premeditated , to demonstrate

Petitioner 's reduced culpability. But rather than presenting their own evidence or witnesses to

show the lack of premeditation, tri al counsel testified in the state habeas proceedings that

Petitioner 's mental state and the circumstances of the c rime were adequately " touched on, or

described, in Dr. Grant's testimony ." H . Tr . 158 . However, Dr. Grant did not testify at trial

regarding Petitioner ' s state of mind at the time of the crimes. Indeed, because Dr. Grant had

received no materials concerning the crime scene from trial counsel , he could not have done so.

And, although Dr. Grant did touch on Petitioner ' s general experience of difficulty in

"discriminating what may be real or unreal ," T. Tr. Vol.10 at 62, trial counsel made no effo rt to

connect such problems to Petitioner 's intent at the time of the c rimes.

        Tri al counsel fell sho rt of constitutional standards by failing to secure the testimony of an

appropriate expert witness to rebut the State's claim of premeditation and intent. For example,

and as described above, a crime scene expert testi fied at the state habeas proceedings that the

characteristics of the crimes at issue in this case were not consistent with premeditation and

deliberation. P. Ex. 5 at H . Tr . 503-10. Because this sort of evidence concerning Petitioner's

lack of intent , and concomitant decre ased culpability, was reasonably available to trial counsel

and provided a legitimate and compelling explanation of the crimes, the failure to investigate and

present such evidence or argument at closing constituted deficient performance .


                                                  32
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 6 of 20




        Petitioner was prejudiced from counsel's failure to rebut the State's arguments

concerning Petitioner's premeditation and deliberation . Evidence concerning Petitioner's intent

is indisputably relevant to whether a jury chooses to impose the death penalty . See, e .g.,

Williams , 529 U .S . at 398 (holding that "[m]itigating evidence unrelated to dangerousness may

alter the jury's selection of penalty, even if it does not undermine or rebut the prosecution's

death-eligibility case," such as whether a defendant's "behavior was a compulsive reaction rather

than the product of cold-blooded premeditation") . Because the jury did not receive available and

highly relevant evidence that Petitioner's crimes were unplanned, Petitioner was prejudiced by

his counsel's deficient performance in rebutting the State's theory of intent .

       H . Trial Counsel Rendered Constitutionally Ineffective Assistance Based on
              Myriad Other Failures.

       In addition to the constitutionally deficient and prejudicial performance of trial counsel as

described above, Mr. Raulerson's right to effective assistance of counsel was violated by

numerous additional failings of trial counsel, including :

       • Trial counsel failed to raise proper objections to improper jury charges given by

       the trial court at the conclusion of the guilt phase of trial ;

       • Trial counsel failed to raise proper objections to items of improper evidence

       offered by the State in aggravation at both the guilt-innocence and penalty phases of trial ;

       • Trial counsel failed to employ a mental health expert for the penalty phase of

       Petitioner's trial ;

       • Trial counsel failed to employ a mitigation specialist;

       • Trial counsel failed to object to the State's witnesses testifying about matters

       outside their personal knowledge, see T . Tr. Vol . 13, at 61-62 ;

                                                   33
  Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 7 of 20




• Trial counsel failed to challenge the constitutionality of Petitioner's p rior

convictions ;

• T rial counsel failed to object to inappropriate arguments made by the State in its

sentencing phase closing , including references to Petitioner as a cold-blooded killer and

an enemy of the state , see T . Tr . Vol. 13, at 113, improper Biblical references , see id. at

108, improperly injecting victim-impact testimony not in evidence , see id. at 109 ,

focusing on all the "rights" and due process Petitioner had received , see id. at 110-11, and

stating that Petitioner had asked to receive the death penalty, see id . at 114 ;

• T rial counsel closed the sentencing phase by effectively expressing agreement

with the State' s argument that Mr. Raulerson should be put to death . For example, trial

counsel's ten-page included statements designed to distance counsel from Petitioner, see

T . Tr . Vol. 13, at 116 , 122, statements failing to explain and give effect to Peti tioner's life

and background , and in effect transforming those potenti al mitigating factors into

aggravating factors, see id. at 117-18, statements instructing the jury not to consider all

options resulting in a sentence of less than death , see id. at 118-19 , 121, and statements

designed to induce the jury to believe that the responsibility to sentence Petitioner did not

rest with the jury, see id. at 121 ;

• Trial counsel failed to object to those portions of the trial court's charge which

failed to adequately de fine mitigating circumstances and misled the jury in other ways ;

• Trial counsel failed to present all issues raised and desc ribed in this Petition for a

Writ of Habeas Corpus in Petitioner 's Motion for a New Trial and on Petitioner ' s appeal

to the Georgia Supreme Court.


                                           34
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 8 of 20




        • Trial counsel failed to raise numerous additional issues in Petitioner 's Motion for

        a New Trial and on Petitioner 's direct appeal, including, but not limited to : the prejudice

        caused by the bomb threat called into the cou rthouse during trial, where counsel moved

        for a mistrial ; the admission of hearsay testimony on the part of the State 's witnesses in

        the guilt phase ; and the trial court' s denial of the Plea to Abatement to the indictment on

        the grounds that the grand jurors were taxpayers of Ware County , the same county that

        approved $2,500 .00 to the reward fund for the arrest and conviction of the perpetrators of

        the murders .




                                                 CLAIM I I

               PETITIONER IS MENTALLY RETARDED AND
               THEREFORE INELIGIBLE FOR THE DEATH PENALTY
               UNDER THE EIGHTH AMENDMENT OF THE UNITED
               STATES CONSTITUTION .

        Mr . Raulerson is mentally retarded and therefore ineligible for the death penalty under the

United States Constitution . See Atkins v. Virginia, 536 U .S . 304 (2002) (holding that the

execution of mentally retarded individuals violates the Eighth Amendment's prohibition against

"cruel and unusual punishment " ). Although there was compelling evidence of Mr. Raulerson's

retardation at trial, which became stronger still as developed further in state habeas proceedings,

the state habeas court rejected Mr . Raulerson' s retardation claim outright, relying on the

unconstitutional Georgia procedures used to determine whether a defend ant is mentally retarded .

See 3/24/04 Order at 5 . But the Constitution requires this Court to reverse Mr . Raulerson's death

sentence based on his clear indeed, nearly unrebu tted - evidence of mental retardation. Put

simply, it would be a miscar riage of justice to allow unconstitutional and unreasonable state

                                                 35
          Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 9 of 20




procedures to dictate the execution of a mentally retarded individual such as Mr . Raulerson . See,

e.g.,. Sawyer v . Whitley, 505 U.S. 333 (1992) . Mr . Raulerson's death sentence must be reversed .

        Substantial evidence submitted at trial and in the state habeas proceedings demonstrate

that Mr . Raulerson is mentally retarded . As discussed above, Petitioner's expert, Dr. Grant,

testified at trial that Mr . Raulerson was mentally retarded, as part of Petitioner's "guilty but

mentally retarded" defense . This testimony was opposed at trial by the State's expert, Dr . Lower,

whose own test results indicated that Mr . Raulerson had a qualifying I .Q. score of 69, but who

reached a conclusion of non-retardation . Critically, and as explained above, Dr . Lower changed

his conclusion about Mr . Raulerson's retardation based upon the evidence developed in the state

habeas proceedings - evidence that trial counsel failed to reasonably discover . Based on the

habeas proceedings, Dr . Lower retracted his conclusion that Mr . Raulerson is not mentally

retarded, and, indeed, agreed with Dr . Grant that the evidence supported a conclusion of mental

retardation. Thus, as a result of the state habeas proceedings, there is no longer any expert

testimony rebutting Dr. Grant's expert opinion that Mr . Raulerson is mentally retarded . Rather,

Mr. Raulerson's retardation is clear.

        The extensive evidence presented at the state habeas hearing painted a vivid and credible

picture of Petitioner's retardation and its early onset . For example, Petitioner sustained severe

injuries and trauma both before birth and as a young child . See, e .g., P . Ex. 30 at H. Tr. 662-63

(testimony of Petitioner's mother describing that, for the first several months of her pregnancy

with Petitioner, she was using nerve pills and drinking about a pint of whiskey each day) ; id . at

H. Tr. 663 (mother's testimony that, "One time, during the sixth month of pregnancy [with

Petitioner], my husband hit me hard with his fist in my stomach . . . . It hurt a lot, and I was


                                                  36
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 10 of 20




scared that I would lose the baby . The same thing happened again during the seventh month . .

 ") . In addition to these pre-natal incidents, Petitioner suffered severe and repeated beatings as a

young child, including frequent blows to the head . See, e.g., P . Ex . 27 at H . Tr . 647 ("First, Billy

[Raulerson Sr.] started whacking his son in the head with the pole and went down from there ."

(testimony of Robert Pittman, cousin, describing an incident when Petitioner was "five or so")) ;

id. at H. Tr. 648 ("Other times, I saw Billy [Raulerson Sr .] grab tools that were sitting in the yard,

like rakes or brooms, and beat his son down to the ground with them ."); P. Ex . 40 at H . Tr . 731-

32 ("With his free hand, Billy Sr . was beating Bill with a leather strap wherever he could - his

head, his back, his legs, his face . I heard the smack of the strap against Bill's bare skin and could

see the welts all over Bill's body." (testimony of a neighbor, describing an incident when

Petitioner was about four years old)) ; P. Ex. 37 at H. Tr. 703-04 ("She [Petitioner's mother]

didn' t just whip the butt, her blows [with a belt, a switch , a big spoon , or anything else that might

be laying nearby] struck wherever she could land them - in the head, the back, where ever she

could land them ." (testimony of Petitioner ' s sister)) .

        The state habeas proceedings also included extensive testimony that Petitioner had severe

and unusual cognitive de ficits that were readily apparent from an early age . He failed first grade .

See P. Ex. 18. He had extreme difficulty completing simple tasks . See, e .g. , P. Ex. 26 at H. Tr.

638 ("I had to repeatedly explain to Bill and show him over and over how to rake the leaves into

piles and then put them into bags" ( testimony of Petitioner 's cousin)) ; P. Ex . 37 at H. Tr . 705

("[Bill] had the hardest time completing a chore . It was like his mind would go blank on what he

was supposed to be doing . It isn't like he would sneak off to go play or was trying to avoid

having to do his part . He never left the task." (testimony of Petitioner 's sister)). And he


                                                    37
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 11 of 20




appeared and acted differently from others as a child . P. Ex. 26 at H. Tr . 638 ("Bill was always

just slower than the others ." (testimony of Petitioner's cousin)) ; P. Ex . 33 at H . Tr. 678 ("Bill just

wasn't like other people . It's like he wasn't all there mentally ." (testimony of neighborhood

friend)); P. Ex. 27 at H. Tr. 644-45 ("[Bill] mainly got teased because people thought he was

stupid" (testimony of Petitioner's cousin)) ; P. Ex . 42 at H . Tr . 740 ("Bill always did seem kind of

slow" (testimony of Petitioner's schoolmate and friend)) ; P. Ex . 45 at H. Tr. 758-60 (testimony

of a local storekeeper) .

        Several witnesses in the state habeas proceedings described Mr . Raulerson's physical as

well as intellectual impairments . A cousin who tried to employ Petitioner described incidents in

which Petitioner would lapse into a blank state and appear almost to lose consciousness . The

witness described that he would help Petitioner " snap out of it" and that "I asked him what

happened to him and he asked me what I was talking about . That has stood out in my mind to

this day. There was something that wasn't right in Bill's head ." P . Ex. 27 at H. Tr. 644-45

(Robert Pittman) ; see , ee .g., id . at H. Tr. 627 ; P. Ex . 47 at H. Tr. 772 (Angela Taylor); P. Ex. 44 at

H. Tr. 751 (Alvin Rowland) .

        Finally, the state habeas proceedings demonstrated that Petitioner came from a family

with a history of mental retardation - a critical fact that trial counsel failed to develop . See,

    , P . Ex . 29 at H. Ex. 652-54 . In particular, Petitioner's father cannot read, write, coun t

money, or tell time, see, e.g., id.; P. Ex . 37 at H. Tr . 708, and a mental health evaluation in 1979

found his father to be mentally retarded . P. Ex . 83 at 2227, 2473 ; see also id . at 2173 .

It is against this rich factual background that the compelling expert testimony concerning

Petitioner's mental retardation must be considered . For example, Dr. Grant, Petitioner's expert


                                                    38
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 12 of 20




at trial, did not have access to most of the factual information just described, but he still was able

to conclude from his testing, and the minimal other information available to him, that Petitioner

was mentally retarded . See P. Ex. 7 at H . Tr . 533 . Dr. Grant sought additional information from

Petitioner 's counsel at the time of tri al, but counsel did not obtain it . Id . at H. Tr . 533-38 . In

connection with the state habeas proceedings, Dr. Grant now has been provided much of that

information , which has only strengthened his conclusion . In particular, he has obtained

psychological evaluations of Petitioner ' s parents, which "provide evidence of the sociocultural

factors such as abuse and deprivation of nurturance and social stimulation which are consistent

with Bill Raulerson, Jr.'s, ment al retardation . Id. at H . Tr . 537 . In addition , Dr. Grant has

reviewed additional statements of family members, friends , teachers, and co-workers, which "are

precisely the type of evidence that I requested from Mr . Wilson prior to trial and provide the

evidence of deficits in adaptive functioning which are consistent with a diagnosis of mental

retardation ." Id .

        Even more c ritical is the about -face of the State's expert based on the factual

development in the state habeas proceedings . Dr. Lower testified for the State at trial that Mr.

Raulerson 's I.Q. of 69 indicated that he was either mentally retarded or functioning in the

borderline range of intelligence. Dr. Lower had concluded that he needed further information

about Petitioner's "level of adaptive behavior," see P . Ex. 10 at H. Tr. 556, 557, and when he

failed to receive this information from trial counsel , he settled on a "borderline" diagnosis. Now,

based on the additional materi als conce rning Petitioner's family and medic al history that have

been provided to him by habeas counsel, Dr . Lower has concluded that "these materials provide

clear evidence of deficits in Petitioner 's adaptive skill functioning, particularly in the areas o f


                                                    39
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 13 of 20




communication, social skills, self-direction, functional academics, self-care, work, health, leisure

and safety. These deficits were apparent prior to the age of 18 ." Id . at H. Tr. 552 . Had Dr.

Lower been provided with these readily available materials at the time of trial, he would not have

disputed Dr . Grant's opinion that Petitioner is mentally retarded : "Had I been provided with this

information, I would have testified that Mr . Raulerson's I.Q. (including the scores obtained by

Dr. Grant) and his deficits in adaptive functioning apparent prior to age 18 supports a diagnosis

of Mental Retardation ." Id . ; see, e .g., H. Tr. 365, 376, 380 (Dr. Lower's state habeas hearing

testimony that he could not make a conclusive diagnosis of retardation, but that the factual record

supported a diagnosis of mental retardation) . Thus, there is no expert testimony in the record to

contradict Dr. Grant's conclusion that Petitioner is mentally retarded . Indeed, there is strong

corroboration of that diagnosis from Dr. Lower, the State's own trial expert .

        It is now firmly established that a person who is mentally retarded may not be executed as

a matter of federal law . See Atkins v . Virginia , 536 U.S. 304 (2002). Despite this controlling

precedent, the state habeas court rejected Mr. Raulerson's retardation claim without analysis,

based on the jury's rejection of Mr . Raulerson's "guilty but mentally retarded" defense at trial .

That reasoning is unreasonable and contrary to federal law, for at least two reasons . First, all that

the jury determined in this case was that Petitioner had failed to prove that he is mentally

retarded "beyond a reasonable doubt ." But as explained below in Claim III, this standard of

proof - unlike that used by any other state in the nation - is inadequate to ensure that mentally

retarded persons are not executed . Thus, the jury's verdict does not dispose of Petitioner's

Atkins claim and the demands of federal law . Second, even assuming that the standard used at

trial was constitutionally permissible, it would be a miscarriage of justice to execute Mr .


                                                 40
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 14 of 20




Raulerson based on the overwhelming evidence adduced in the state habeas proceedings

demonstrating that he is mentally retarded . See Sawyer v . Whitley, 505 U .S. 333 (1992) .

Although the evidence at trial demonstrated Mr . Raulerson's retardation , that diagnosis is no w

clear based on the state habeas proceedings , and, indeed , is no longer rebutted by the State's own

trial expert . This evidence must be considered to avoid a miscar riage of justice , and it precludes

Petitioner 's death sentence.


                                            CLAIM II I

               THE GEORGIA STATUTE REQUIRING CAPITAL
               DEFENDANTS TO PROVE THEIR MENTAL
               RETARDATION BEYOND A REASONABLE DOUBT
               VIOLATES THE UNITED STATES CONSTITUTION .

        The Georgia procedure for determining whether a defend ant is mentally retarded - under

which a defendant bears the burden of proving his retardation beyond a reasonable doubt -

violated Mr . Raulerson's rights under the Fifth, Sixth , Eighth , and Fourteenth Amendments .

Indeed, this procedure permitted the jury to conclude that Mr . Raulerson was not mentally

retarded, despite clear evidence that his IQ is 69, that he has deficits in adaptive functioning, and

that this condition onset before age 18 . In Atkins , the Supreme Court recognized that it was

generally the states' "task of developing appropriate ways to enforce the constitutional

restriction." 536 U.S. at 317 (emphasis added). But Atkins was not a blanket sanction of state

procedures without regard to whether such procedures are inconsistent with " evolving standards

of decency," id. at 321, or unreasonably burden the right of mentally retarded persons not to be

executed . Rather, such procedures are plainly subject to due process scrutiny . See, e. g., Cooper

v. Oklahoma , 517 U .S. 348, 354- 55 (1996 ). Georgia is the o y State to require "beyond a


                                                 41
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 15 of 20




reasonable doubt" proof of retardation ; no other State requires such exacting proof , and the great

majority require only a "preponderance of the evidence " showing . Georgia 's unique procedure is

a pre-Atkins vestige, and is not a constitutionally acceptable implementation of Atkins . Thus,

Mr. Raulerson 's death sentence - which is premised on the jury' s application of Georgia's

unconstitutional standard - must be reversed.

        Georgia ' s statutory procedure for determining whether a defendant is mentally retarded

predates Atkins . It requires defendants raising a defense of "guilty but mentally retarded" to

prove mental retardation beyond a reasonable doubt . See O .C.G.A. § 17-7- 131 . Thus, Mr.

Raulerson ' s jury was instructed to find him guilty, not guilty, or guilty but mentally retarded, and

was told to apply a "beyond a reasonable doubt" standard of proof to the retardation claim . And,

six years before Atkins was decided, the jury found Mr . Raulerson guilty, apparently concluding

that he had not proved mental retardation beyond a reasonable doubt . The state habeas court

relied on the jury' s rejection of Mr. Raulerson 's "guilty but mentally retarded" defense" to

conclude that his Atkins claim was barred by resjudicata. 3/24/04 Order at 5 .

        Because the right of mentally retarded individuals not to be executed is now a federal

constitutional right, state procedures that affect this constitutional ri ght are subject to scrutiny

under federal due process standards , and will violate the Fourteenth Amendment if they offend a

"recognized principle of fundamental fairness." Cooper, 517 U .S . at 355. Georgia ' s uniquely

stringent procedure violates the Fou rteenth Amendment as it app lies to Petitioner 's rights under

the United States Constitution , because it allows Georgia to execute Petitioner and others like

him who are ment ally retarded , even if a jury does not so find beyond a reasonable doubt . See,

ems, Cooper, 517 U.S . at 355-56, 363-64 (holding unanimously that a state statute requi ring


                                                   42
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 16 of 20




capital defendants to prove their incompetence to stand trial by "clear and convincing evidence"

was unconstitutional, and ruling that the burden of proof could be no higher than "preponderance

of the evidence"). Indeed, by requiring defendants to prove their mental retardation beyond a

reasonable doubt, O .C.G.A. § 17-7-131 creates a significant risk that mentally retarded

individuals like Mr . Raulerson will not be able to, or for various reasons will fail to, satisfy that

burden, and thus will be wrongly executed.

        The Georgia procedures contravene due process and the protections recognized in Atkins

for several specific and tangible reasons . First, because of the nature of the evidence involved in

"proving" retardation - test scores that require interpretation and are subject to variou s

measurement errors, and qualitative information about adaptive deficiencies that does not lend

itself to clear-cut measurement - the issue of mental retardation is particularly ill-suited to the

"reasonable doubt" standard as a matter of science . As the Supreme Court recognized in the

analogous context of mental illness, "[t]he subtleties and nuances of psychiatric diagnosis render

certainties virtually beyond reach in most situations ." Addington v. Texas , 441 U .S. 418, 429-30

(1979) (distinguishing the "reasonable doubt" standard, which "is addressed to specific,

knowable facts"). Second, aside from scientific uncertainty, common public misconceptions

about how mentally retarded persons appear and behave contribute to the unfairness of the

"reasonable doubt" standard . Defendants, like Mr . Raulerson, who do not display physical

characteristics like those associated with Down Syndrome may not be perceived by jurors to be

mentally retarded, and thus may never be able to satisfy the jurors that they are retarded under a

"reasonable doubt" standard, despite clear testimony and evidence to that effect . Third , mentally

retarded individuals are often unable to assist their lawyers fully in preparing their defense ,


                                                  43
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 17 of 20




making it all the more difficult to satisfy a "reasonable doubt" standard . As the Supreme Court

recognized in Atkins , their "impairments can jeopardize the reliability and fairness of capital

proceedings," 536 U .S . at 306-07 - including the very determination of whether or not they are

mentally retarded, id. at 320-21 .

        As noted, Georgia is the only State to impose upon capital defendants the exacting ----

indeed, nearly impossible - burden of proving mental retardation beyond a reasonable doubt .

Most states require defendants to prove mental retardation only by a preponderance of the

evidence .' A few states require "clear and convincing proof' of mental retardation,' and in three

States and the federal government, the requisite burden is unclear .' In four states, reliable I .Q.

scores in the mentally retarded range create a rebuttable presumption that the defendant is

mentally retarded, thus placing the ultimate burden of proof on the prosecution .' As is clear,

Georgia's unique and burdensome procedure is out-of-step with evolving standards of decenc y




3 See Ark. Code Ann . 5-4-618(c) (Michie 2003) ; Cal. Penal Code 1376(b)(3) (West 2004) ; Idaho
Code 19-2515A(3) (Michie 2004) ; 725 111. Comp. Stat . 5/114-15(b) (2004) ; La. Rev . Stat. Ann.
905.5.1(C)(1) (West 2004) ; Md . Code Ann ., Crim . Law 2-202(b)(2)(ii) (2004) ; Mo . Ann . Stat.
565.030(4)(1) (West 2004) ; Neb . Rev . Stat. Ann. 28-105 .01(4)(b)(ii) (Michie 2004) ; Nev. Rev. Stat.
174 .098(5)(b) (2004) ; N.M. Stat . Ann . 31-20A-2 .1(C) (Michie 2004) ; N.Y . Crim . Proc. Law
400.27(12)(e) (McKinney 2004), S .D . Codified Laws 23A-27A-26 .3 (Michie 2004) ; Tenn . Code
Ann . 39-13-203(c) (2003) ; Utah Code Ann. 77-15a-104(12)(a) (2004) ; Va. Code Ann . 19.2-
264.3 :1 .1(C) (Michie 2004) ; Wash. Rev . Code Ann . 10.95 .030(2) (West 2004) .
4 See Ariz . Rev. Stat. Ann . 13-703 .02(G) (West 2004) ; Colo . Rev. Stat. Ann . 18-1 .3-1102(2) (West
2004) ; Del . Code Ann. tit . 11, 11-4209(D)(3)(b) (2003), Fla . Stat. Ann. 921 .137(4) (West 2004) ; Ind .
Code Ann . 35-36-9-4(b) (West 2004) ; N.C. Gen . Stat. 15A-2005(c) (2004) .
' See 18 U .S .C . § 3596(c) ; Conn. Gen . Stat. Ann . 53a-46a(h)(2) (West 2004) ; Kan. Stat. Ann . 21-
4623 (2003) ; Ky. Rev . Stat. Ann. 532 .135 (Michie 2004) ; Okla. Stat. Ann. tit . 22, 1175 .5(3) (West
2004) ; S .C. Code Ann . 16-3-20(C)(b)(10) (Law . Co-op . 2003) . In Kentucky, it appears that anyone
who demonstrates an IQ below 70 is ineligible for the death penalty. See Woodall v.
Commonwealth, 63 S .W.3d 104, 116 (Ky. 2002) .
6 See Ariz . Rev . Stat. § 13-703 .02 ; Ark . Code Ann. § 5-4-618 ; Neb . Rev. Stat . Ann . § 28-105 .01 ;
N.M. Stat . Ann. § 31-20A-2 .1 .
                                                    44
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 18 of 20




and is inconsistent with the demands of due process . Because Mr. Raulerson's death sentence

was obtained as a result of this unconstitutional procedure, that sentence cannot stand .




                                             CLAIM I V

               THE SENTENCING PHASE JURY INSTRUCTIONS,
               WHICH FAILED TO PERMIT THE JURY TO CONSIDER
               PETITIONER'S MENTAL RETARDATION IN
               MITIGATION, VIOLATED PETITIONER ' S RIGHTS
               UNDER THE FIFTH, SIXTH, EIGHTH AND
               FOURTEENTH AMENDMENTS TO THE UNITED STATES
               CONSTITUTION.

       The sentencing phase jury instructions, both individually and collectively, were

ambiguous, insufficient, vague, confusing, contrary to law, and resulted in an unreliable jury

verdict, in violation of Mr . Raulerson's rights under the Fifth, Sixth, Eighth, and Fourteenth

Amendments . Most prominently, the trial court failed to instruct the jury at sentencing that

mental retardation evidence remained relevant as a mitigating factor, and that such evidence was

no longer governed by the "beyond a reasonable doubt" standard of proof that had applied to

Petitioner's "guilty but mentally retarded" defense in the guilt-innocence phase that had

concluded just the day before. Thus, Mr. Raulerson's jury rendered its death sentence while

under the misimpression that evidence of his mental retardation was either irrelevant or not to be

considered unless proven beyond a reasonable doubt . These erroneous jury instructions

prevented the jury from giving effect to mitigating evidence that may have spared Petitioner's

life, and he is therefore entitled to a new sentencing proceeding .

       At the end of the guilt-innocence phase, the court instructed the jury that under Georgia

law, Petitioner had to prove mental retardation "beyond a reasonable doubt" to warrant a verdic t


                                                 45
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 19 of 20




of "guilty but mentally retarded ." T. Tr . Vol. 12 at 181-82 . The jury evidently concluded that

Petitioner had not proved retardation beyond a reasonable doubt , because they rejected the

"guilty but mentally retarded " verdict . At sentencing - one day after the jury had determined

that Petitioner was not mentally retarded beyond a reasonable doubt - the trial cou rt instructed

the jury as follows :

        In arriving at this determination [as to punishment], you are authorized to consider
        all of the evidence received here in court in both stages of this proceeding,
        presented by the State and the defendant throughout the trial before you, unless
        the Court has previously instructed you to consider certain evidence introduced by
        the State for a limited purpose . . . .

        Now you shall also consider the facts and circumstances, if any, in extenuation,
        mitigation, and aggravation of punishment . Mitigating or extenuating facts or
        circumstances are those which you the jury find do not constitute a justification or
        excuse for the offense in question, but which, in fairness and mercy, may be
        considered as extenuating or reducing the degree of moral culpability or blame .

Id. at 126 . This was the extent of the trial court's instruction on mitigation evidence .

        The Eighth Amendment requires that a jury be permitted to consider all constitutionally

relevant mitigating evidence . Penr , 492 U.S. at 319 ; Eddings v. Oklahoma, 455 U .S. 104, 113-

15 (1982); Lockett v . Ohio , 438 U .S . 586, 602-06 (1978) . As the Supreme Court explained in

Peru    "[I]n the absence of instructions informing the jury that it could consider and give effect

to the mitigating evidence of Penry's mental retardation and abused background by declining to

impose the death penalty, we conclude that the jury was not provided with a vehicle fo r

expressing its `reasoned moral response' to that evidence in rendering its sentencing decision ."

492 U .S . at 328 . The Supreme Court so held, because there must be no "risk that the death

penalty will be imposed in spite of factors which may call for a less severe penalty ." Id. (internal

citation and quotation marks omitted) . Thus, a defendant's death sentence is invalid under th e


                                                 46
         Case 5:05-cv-00057-JRH Document 1-2 Filed 07/18/05 Page 20 of 20




Eighth Amendment if there is a "reasonable likelihood that the jury has applied the challenged

instruction in a way that prevents the consideration of constitutionally relevant evidence . . . . [A]

defendant need not establish that the ju ry was more likely than not to have been impermissibly

inhibited by the instruction ." Boyde v . California, 494 U .S. 370 , 380 (1990) .

        The jury instructions at Mr . Raulerson's sentencing did not inform the jury that the

"beyond a reasonable doubt " st andard that the jury had applied only the day before no longer

applied to the issue of mental retardation. Further, the instructions failed to inform the jury that

at sentencing , they could reconsider the issue of mental retardation - since mental retardation is

quite clearly a mitigating factor - despite that they had already decided that issue at the guilt-

innocence phase . Although the jury instruction did state that the jurors could consider "all of the

evidence " in their sentencing deliberations , that brief, general statement was insufficient to

inform the jurors not only that they could reconsider the mental retardation issue they had

decided at guilt-innocence, but also that they could apply a different, less-exacting standard of

proof to mental retardation evidence at sentencing . Absent clear instruction , a jury of laypersons

would be highly unlikely to infer that they could reconsider the mental retardation issue under a

far less stringent st andard. Because it is highly unlikely that the jury properly considered the

evidence of Mr . Raulerson ' s mental retardation as a mitigating factor , he is entitled to relief from

his death sentence, and to a new sentencing proceeding .




                                                  47
